
PER CURIAM.
Affirmed. See Little v. State, 77 So.3d 722, 722-23 (Fla. 3d DCA 2011) (holding that “section 893.13, as amended by section 893.101, Florida Statutes (2002), is constitutional”; rejecting Shelton v. Secretary, Department of Corrections, 802 F.Supp.2d 1289, 1308 (M.D.Fla.2011), in which a federal court held that section 893.13, Florida Statutes (2004), “violates the due process clause and that the statute is unconstitutional on its face”); Ortega v. State, 76 So.3d 346 (Fla. 3d DCA 2011); see also State v. Washington, — So.3d - (Fla. 3d DCA 2012); Bryant v. State, 89 So.3d 1073 (Fla. 3d DCA 2012); Alvarez v. State, 88 So.3d 430 (Fla. 3d DCA 2012); State v. Adkins, 71 So.3d 184 (Fla. 2d DCA 2011), review granted, 71 So.3d 117 (Fla.2011).
